`Case 8:18-mj-00545-DUTY Document 3 Filed 12/10/18 Page 1 of 2 Page |D #:187

AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No. .' Date and time warrant executed.' Copy of warrant and inventory left with.‘

8:18-MJ-00545 /o/g§//S OG'O`.Q\ DWW el BIZMJ§) 6 L 61ij

 

 

 

Inventory made in the presence of .:

 

Inventory of the property taken and name of any person(s) seized.'

[Please provide a description that would be sufficient to demonstrate that the items seized fall Within the items authorized to be
seized pursuant to the Warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate
volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

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Certificatl'on (by officer present during the execution of the Warrant)

 

1 declare under penalty of perjury that 1 am an onicer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's Ojj'ice.

Date.' i § i§ /% @%M//

Executing officer ’s signature

Printed name and title

 

 

 

 

 

AUSA: Jake Nare, 714-338-3549

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Nz) s\\(§§ . . ,

501 West 00ean Boulevard, Suite 7200
Long Beach, Califomia 90802

 

 

 

 

 

 

 

 

 

 

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SEARCH‘INVENTCRY ‘
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Article 1 Description Qty Unit Location .
Item# 9 ` `
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